X
&

 

Case 8:21-cv-01848-TPB-SPF Document 1 Filed 08/02/21 Page 1of2 PagelD 1
RECIPIENT RIGHTS COMPLAINT Complaint Number

Michigan Department of Health and Human Services

 

 

 

INSTRUCTIONS:

If you believe that one of your rights has been violated, you (or someone on your behalf) may use this form to make a
complaint. A rights officer/advisor will review the complaint and may conduct an investigation. Send this form to the
rights office at the Community Mental Health (CMH) or hospital where you are receiving (or received) services at: Enter

your agency address here. Bi2\ cv \% @ AX b- See

Keep a copy for yourself. If you send your complaint to Michigan Department of Health and Human Services, Office of
Recipient Rights (MDHHS-ORR), it will be forwarded to the appropriate rights office. The MDHHS-ORR address is:
Michigan Department of Health and Human Services, Office of Recipient Rights, Lewis Cass Building, 320 South
Walnut Street, Lansing, MI 48933.

 

 

 

Complainant’s Name Recipient's Name (if different from complainant)
Complainant's Address Where did it occur (name or address of hospital/agency)?
Complainant's Telephone Number When did the alleged violation occur (indicate date and time)?

 

 

What right was violated?

 

Describe what happened:

 

What would you like to see happen in order to correct the violation?

 

Complainant’s Signature Date Name of person assisting complainant

 

 

 

 

The Michigan Department of Health and Human Services (MDHHS) does not discriminate against any
individual or group because of race, religion, age, national origin, color, height, weight, marital status, Authority: PA 258 of 1974 as amended
genetic information, sex, sexual orientation, gender identity or expression, political beliefs or disability.

 

 

 

Original to ORR
Copy to complainant (with acknowledgement letter)

DCH-0030 (Rev. 4-17) 1

 
Case 8:21-cv-01848-TPB-SPF Document 1_ Filed 08/02/21 Page 2.of2 Pagel) 2

RECIPIENT RIGHTS COMPLAINT
Michigan Department of Health and Human Services

 

Complaint Number

 

 

 

INSTRUCTIONS:

your agency address here.

Walnut Street, Lansing, MI 48933.

If yousbelieve that one of your rights has been violated, you (or someone on your behalf) may use this form to make a
complaint. A rights officer/advisor will review the complaint-and may conduct an investigation. Send this form to the
rights office at the Community Mental Health (CMH) or hospital where you are receiving (or received) services at: Enter

Keep a copy for yourself. If you send your complaint to Michigan Department of Health and Human Services, Office of
Recipient Rights (MDHHS-ORR), it will be forwarded to the appropriate rights office. The MDHHS-ORR address is:
Michigan Department of Health and Human Services, Office of Recipient Rights, Lewis Cass Building, 320 South

 

Complainant's Name

Recipient's Name (if different from complainant)

 

Complainant's Address

Where did it occur (name or address of hospital/agency)?

 

Complainant's Telephone Number

 

When did the alleged violation occur (indicate date and time)?

 

What right was violated?

 

Describe what happened:

 

What would you like to see happen in order to correct the violation?

 

Complainant’s Signature Date

 

Name of person assisting complainant

 

 

 

 

The Michigan Department of Health and Human Services (MDHHS) does not discriminate against any
individual or group because of race, religion, age, national origin, color, height, weight, marital status,
genetic information, sex, sexual orientation, gender identity or expression, political beliefs or disability.

Authority: PA 258 of 1974 as amended

 

 

Original to ORR
Copy to complainant (with acknowledgement letter)

DCH-0030 (Rev. 4-17)

 
